                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
AAS/RMP                                            271 Cadman Plaza East
F. #2021R00600                                     Brooklyn, New York 11201



                                                   January 28, 2025
By Email and ECF

Kenneth Abell
Jarrod L. Schaeffer
Abell Eskew Landau LLP
256 Fifth Avenue, 5th Floor
New York, NY 10001

                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)


Dear Counsel:

              This letter will be accompanied by a link, sent by separate e-mail, to the secure
download of certain discovery materials produced pursuant to Rule 16 of the Federal Rules
of Criminal Procedure. The government renews its request for reciprocal discovery from the
defendants.
               The following documents were obtained by the government during the course
of the investigation:

 Bates No.                                       Description of Item
                                                 Draft translation of chats from one silver
                                                 Macbook Pro, serial number
                                                 C02T89XXGTF, that was seized at the Sun
 EDNY_050121-EDNY_050143                         and Hu Residence
                                                 Charts of header information regarding
                                                 Linda Sun's email account (responsive
                                                 report previously produced as EDNY-
 EDNY_050144-EDNY_050146                         037877)


              You may examine the physical evidence discoverable under Rule 16,
including original documents and items, by calling us to arrange a mutually convenient time.



                                                   Very truly yours,

                                                   JOHN J. DURHAM
                                                   United States Attorney
                                                   Eastern District of New York

                                          By:       /s/ Alexander A. Solomon
                                                   Alexander A. Solomon
                                                   Robert M. Pollack
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000




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